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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 1:21-CV-22863-KMM

   JUDITH ANNE HAYES, individually
   and on behalf of W.H., a minor, et al.,

           Plaintiffs,

      v.

   GOVERNOR RONALD DION
   DESANTIS, in his official Capacity as
   Governor of the State of Florida, et al.,

           Defendants.


      STATE DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS

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                                        I.    INTRODUCTION

           The Complaint in this case could not be more clear: Plaintiffs explicitly and repeatedly

   allege that they are suing over concerns about a “free appropriate public education” (FAPE). And

   the statewide injunction that they seek would not resolve their individualized local concerns in

   any event. This Court has already denied Plaintiffs’ motion for a preliminary injunction,

   concluding in part that they have not exhausted their administrative remedies as required by

   applicable law. (ECF No. 98.) That conclusion was correct in the context of the requested

   injunction and also warrants outright dismissal. Although the Court did not fully address standing

   in its order denying the injunction, Plaintiffs’ lack of standing is yet another fundamental—and

   jurisdictional—flaw that requires dismissal of the Complaint in its entirety.

                  II.    ARGUMENT AND CITATION OF AUTHORITIES

   A.      Plaintiffs Must Exhaust Administrative Remedies Before Asserting Their ADA and
           Section 504 Claims Premised on the Denial of a Free Appropriate Public Education.

           Plaintiffs’ response to the State Defendants’ motion to dismiss (ECF No. 88, hereinafter

   “Resp.”) relies on construing this lawsuit as very different from the case they actually brought.

   Even though the Complaint refers to FAPE no fewer than 28 times, Plaintiffs now insist that

   “[t]here is no difference in this matter from the denial of a ramp to the school for a child in a

   wheelchair, or the denial of being permitted to enter school with a service animal.” (Id. at 7.) But the

   test to determine whether Plaintiffs must exhaust administrative remedies as required by the

   Individuals with Disabilities in Education Act (IDEA), 20 U.S.C. § 1415(l), is not whether they

   could have asserted claims for non-FAPE relief in another hypothetical lawsuit. Nor is the test

   whether an administrative law judge could impose all of the most extraordinary remedies sought

   in their prayer for relief. The right question is whether “the gravamen of the plaintiff’s suit is

   something other than the denial of the IDEA’s core guarantee” of a “free appropriate public



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   education.” Fry v. Napoleon Cmty. Schs., 137 S. Ct. 743, 748 (2017) (emphasis added). And

   Plaintiffs cannot “avoid the exhaustion requirement simply by asking for relief”—such as a

   statewide injunction against the Executive Order here—“that administrative authorities could not

   grant.” N.B. by D.G. v. Alachua Cty. Sch. Bd., 84 F.3d 1376, 1379 (11th Cir. 1996).

          Try as they might to recharacterize their claims as seeking general access to public

   schools, Plaintiffs’ insistence that the “gravamen” of this suit is anything other than their

   expressly alleged concerns about FAPE (e.g., Resp. 5) does not make it so. There is no need to

   search for “clue[s]” about the nature of Plaintiffs’ claims, Fry, 137 S. Ct. at 756, because the

   Complaint tells us—over and over again—that Plaintiffs seek to vindicate their rights to a “free

   appropriate public education.” (E.g., Compl. 32, 34 (requesting “a permanent injunction

   enjoining the Defendants from interfering with their rights to a free and appropriate public

   education in the least restrictive environment”).) This is not a case about wheelchair ramps or

   service animals—much less a case in which Plaintiffs assert claims that could just as well have

   been brought by “an employee or visitor” concerning “a public theater or library.” Fry, 137 S. Ct.

   at 756 (quoted in Resp. 11).

          Quite the contrary; the Complaint is brimming with allegations about the alleged denial

   of the plaintiffs’ individualized FAPE (and IDEA) rights to specific educational programs and

   services. For example:

                 “The children whose parents are plaintiffs are all children who have an
                  individualized education plan or 504 plan in the school districts in the
                  counties in which they live. . . . The families are seeking to have their
                  IEP and 504 plan[s] implemented with care and heed taken for their
                  individual circumstances as demanded by the educational laws . . . .”
                  (Compl. ¶ 47 (emphasis added).)

                 “The children Plaintiffs would like the school district to implement
                  their IEP and 504 plans as required by Federal Law . . . .” (Id. ¶ 48.)




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              “On its face, this executive order conflicts with the school districts[’]
               obligations under the Individuals with Disabilities Education Act, the
               Americans with Disabilities Act, and Section 504 of the Rehabilitation
               Act . . . ” (Id. ¶ 49 (emphasis added).)

              “FAPE is established with the creation of an Individualized Education
               Plan (IEP) for each ESE student.” (Id. ¶ 81.)

              Plaintiff W.H. in Orange County complains that his school district does
               not provide a “‘full panoply of services’ including live synchronous
               and asynchronous instruction with the same curriculum as in person
               instruction” in a remote setting, with “the necessary supports, services
               and accommodations as identified in his IEP, including direct
               instruction from a special education teacher.” (Id. ¶¶ 99, 100.)

              Plaintiffs L.M. in Miami Dade County and R.K. in Volusia County
               “cannot return to school safely”—period—because “[n]o one can
               guarantee [their] safety.” (Id. ¶¶ 104, 130.) L.M.’s principal complaint
               in this regard, though not R.K.’s, is that he still wants to “remain in his
               magnet school program and receive all the benefits of that program,”
               presumably through remote instruction. (Id. ¶ 106.)

              Plaintiffs R.M. and L.M. in Hillsborough County, along with several
               individual Plaintiffs in Palm Beach and other counties, complain that
               the “Florida Virtual School or other online programs” available to
               them in their local school districts do not “provide FAPE.” (Id. ¶ 114;
               see also id. ¶¶ 121, 127, 142, 148, 154.) But “[t]here is one district
               whose virtual school program might arguably provide a free
               appropriate public education (FAPE) to students with disabilities.
               Hendry County Public Schools is the only district that provides access
               point curriculum for students with disabilities through its virtual
               platform.” (Id. ¶ 77 n.1.) And Defendant “Palm Beach County
               suggested that families with children on access point curriculums leave
               the Palm Beach Public Schools and enroll in Hendry County Virtual
               School.” (Id. ¶ 127.)

              Plaintiff Q.C. in Palm Beach County “would consider participating in
               district learning,” presumably with appropriate accommodations for
               remote instruction, but alleges that the current “Florida Virtual School
               or Palm Beach County Virtual school” options do not “provide[] an
               equal education.” (Id. ¶¶ 159, 160 (emphasis added).)

              “The Plaintiffs are seeking practical solutions. There is an
               understanding and appreciation for the competing interests. . . . The
               Plaintiffs are seeking a reinstatement of a ‘full panoply of services’
               including live synchronous and asynchronous instruction with the



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                  same curriculum as in person instruction and the ability to interact
                  with a student’s teacher and peers.” (Id. ¶ 162.)

          These individualized allegations and the claims pleaded in the Complaint are not focused

   on any “systemic” violation that should be “considered to be outside of the IDEA” (Resp. 8).1

   Despite Plaintiffs’ newfound briefing emphasis on “access to their educational and non-

   educational benefits of being a child in school” (id. at 3 (emphasis added)), the Complaint’s

   references to “access” primarily concern a specific curriculum or the sufficiency of options for

   remote instruction from time to time in various school districts. (E.g. Compl. ¶ 82 (defining

   “Access Points” curriculum); see also id. ¶ 59 (“The term ‘distance learning’ became the phrase

   used to describe children learning at home and accessing their education online remotely.”).)2

   And Count 2 of the Complaint specifically alleges that “failure to provide access to FAPE in an

   alternative setting . . . is a violation of Section 504.” (Compl. ¶ 187 (emphasis added).)

          The State Defendants are not improperly relying on “magic words” here, Fry, 137 S. Ct.

   at 755, or trying to play gotcha “just because the Plaintiffs intoned the acronym ‘FAPE’” (Resp.

   5). Plaintiffs are the masters of their Complaint, which—again—says explicitly that they “seek[]



   1
     The cases that Plaintiffs cite about “systemic” violations or remedies under the IDEA (Resp. 8–
   10) are inapposite. For example, this lawsuit is not a class action purporting to raise common
   issues or typical claims and defenses related to a uniform policy that allegedly violates the
   IDEA’s procedural requirements. Cf. L.M.P. ex rel. E.P. v. Sch. Bd. of Broward Cty., 516 F. Supp.
   2d 1294, 1305 (S.D. Fla. 2007) (“Under the [specific] facts alleged here, exhaustion by class
   members would be needless and futile.” (emphasis added)) (cited in Resp. 8); Ass’n for Cmty.
   Living v. Romer, 992 F.2d 1040, 1045 (10th Cir. 1993) (“Although we hold that the plaintiffs in
   this case failed to satisfy the IDEA’s exhaustion requirement, we do not hold that every plaintiff
   in a class action must exhaust the IDEA’s administrative remedies.”) (cited in Resp. 8). And the
   only Eleventh Circuit decision that Plaintiffs cite on this issue, L.J. v. School Board of Broward
   County, 927 F.3d 1203 (11th Cir. 2019), did not address the plaintiff’s undisputed exhaustion of
   administrative remedies.
   2
    Compare Compl. ¶ 85 (“Virtual programs do not provide students with disabilities a free
   appropriate public education . . . .”), with id. ¶¶ 77 n.1, 85 n.2, 127 (favorably comparing virtual
   options allegedly available through Hendry County programs).


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   to have their IEP and 504 plan[s] implemented with care and heed taken for their individual

   circumstances as demanded by the educational laws” because the Governor’s Executive Order

   “conflicts with the school districts[’] obligations under the Individuals with Disabilities

   Education Act.” (Compl. ¶¶ 47, 49 (emphasis added).) Cf. Borrero v. United HealthCare of N.Y.,

   Inc., 610 F.3d 1296, 1303 (11th Cir. 2010) (requiring dismissal of claims as pleaded because “the

   plaintiff is the master of the complaint” (quoting Caterpillar Inc. v. Williams, 482 U.S. 386, 398–

   99 (1987)).

          With respect to the IDEA’s statutory exhaustion requirement, this is not a close case.3

   Binding Supreme Court and Eleventh Circuit precedent require the ADA and Section 504 claims

   to be dismissed because Plaintiffs have not exhausted their administrative remedies. Fry, 137 S.

   Ct. 743; Durbrow v. Cobb Cty. Sch. Dist., 887 F.3d 1182, 1190 (11th Cir. 2018) (“Since the only

   remedy available under the IDEA is injunctive relief for the wrongful denial of a FAPE, any such

   claim must undergo an administrative hearing before proceeding to state or federal court,

   whether the claim arises under the IDEA, § 504, the ADA, or any other federal law. The rationale

   is clear: plaintiffs cannot circumvent the IDEA’s exhaustion requirement by suing for a FAPE

   deprivation under a different federal statute.” (internal citation omitted)). Counts 1 and 2 of the

   Complaint therefore should be dismissed.

   B.     Plaintiffs’ Claims Should Be Dismissed for Lack of Standing.

          Plaintiffs’ lack of standing has been thoroughly addressed, not only in the State

   Defendants’ opening brief supporting dismissal but also in connection with Plaintiffs’



   3
     This lawsuit is unlike the mask cases cited by Plaintiffs as pending in federal district courts in
   Iowa and Tennessee, where the complaints did not repeatedly allege the deprivation of a FAPE—
   as this Court noted in its order denying Plaintiffs’ motion for a preliminary injunction (ECF
   No. 98, at 17 nn.3, 4). The gravamen of the ADA and Section 504 claims in the Complaint here
   is such that Plaintiffs must first exhaust their administrative remedies under the IDEA.


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   unsuccessful motion for a preliminary injunction. And although none of the evidence related to

   the injunction motion is necessary to conclude that the Complaint should be dismissed for lack

   of standing, Plaintiffs’ assertion that “the motion [to dismiss] should be decided on the four

   corners of the complaint” (Resp. 16) is misplaced. The State Defendants’ standing defense

   implicates the Court’s subject-matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1),

   and “in determining subject matter jurisdiction we are permitted to look at all of the evidence

   presented, including affidavits and testimony relating to a motion for a preliminary injunction.”

   Fla. Family Policy Council v. Freeman, 561 F.3d 1246, 1253 (11th Cir. 2009).

          Without reiterating arguments previously made, the State Defendants note that Plaintiffs’

   response to the motion to dismiss barely touches on standing. But Plaintiffs continue to assert,

   incorrectly, that the relief they seek in this litigation would somehow eliminate the “risk of

   serious injury or death if they go back to school” or ensure “equal access to the programs and

   services of similarly situated able bodied kids in the school district.” (Resp. 4.) That assertion is

   belied by the allegations in the Complaint, the terms of the Executive Order that Plaintiffs seek to

   enjoin, and their own prior submissions to the Court.

          Regardless of whether Plaintiffs’ alleged injuries are properly construed as the risk of lost

   educational opportunities and the denial of FAPE if they choose to seek accommodations under

   federal disability law, or more broadly construed as risks to their personal health and safety if

   they choose to attend in-person public schools, those injuries are not fairly traceable to the

   Governor’s Executive Order and could not be redressed by the relief that they seek in this case.

          As noted above, the Complaint alleges that the individual Plaintiffs are differently

   situated with respect to their individual disabilities, preferences for virtual instruction or other

   accommodations, and willingness to attend in-person classes with or without a local mask




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   mandate. But a common theme throughout the Complaint is the allegation, repeated for each

   Plaintiff, that it would be “too dangerous to return to brick-and mortar school without . . .

   mandatory masking and regular [COVID-19] testing in schools.” (Compl. ¶¶ 98, 105, 113, 120,

   125, 131, 135, 141, 147, 153, 158; see also id. ¶ 136 (alleging that Plaintiff J.D.-F.’s disability

   requires “mandatory masking and regular testing” to be implemented in his siblings’ schools).)

          It is not “likely, as opposed to merely speculative,” Support Working Animals, Inc. v.

   Governor of Fla., --- F.4th ---, No. 20-12665, 2021 WL 3556779, at *2 (11th Cir. Aug. 12, 2021)

   (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (quotation marks omitted)), that

   granting the relief sought in the Complaint, by enjoining enforcement of an Executive Order that

   encourages school districts to let parents opt out of local mask mandates (see Compl. ¶ 42–44),

   would redress Plaintiffs’ alleged concerns. Nor could such a remedy possibly “guarantee” student

   safety in every circumstance (id. ¶¶ 104, 125, 130, 147), especially when the potential health

   risks that Plaintiffs identify are, as a practical matter, subject to “the independent action of some

   third part[ies] not before the court.” Lujan v. Defs. of Wildlife, 504 U.S. at 560.

          Plaintiffs’ assumptions about traceability and redressability are inconsistent with their

   own allegations and indisputable facts in the record. The examples below are more than

   sufficient to show that Plaintiffs lack standing to pursue their claims, because their requested

   injunction against the Executive Order would not solve any of the following potential problems:

                 If Plaintiffs believe that “mandatory masking” is essential for them to
                  obtain a FAPE, the injunction they seek would not achieve that goal.
                  Even without the Executive Order, individual county school districts
                  could (as far as this case is concerned) adopt, implement, limit, or
                  terminate local mask mandates in their discretion. Plaintiffs’ own
                  submissions in support of their motion for a preliminary injunction
                  show that some districts have imposed mask mandates notwithstanding
                  the Executive Order, while others (as in Pasco County) have expressed
                  little or no interest in doing so.




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               Similarly, enjoining enforcement of the Executive Order would not
                require school districts to enforce their own mask mandates, if or when
                they chose to impose them. Nor would such an injunction require
                students to wear masks at all times, such as during lunch, or without
                regard to any medical exemptions that might permit some students
                (e.g., those with certain disabilities) to avoid wearing masks in class.
                And teachers and staff might be entirely exempt from any local mask
                mandates imposed by the individual county school districts.

               Plaintiffs themselves have alleged in the Complaint that some of them
                are not willing to attend in-person classes even if their county school
                districts impose local mask mandates. (Compare Compl. ¶¶ 104, 130
                (alleging without qualification that at least two Plaintiffs “cannot
                return to school safely”), with id. ¶ 89 (alleging “the only option for
                students with disabilities to receive a free appropriate public education
                (FAPE) in the Least Restrictive Environment (LRE) is to return to a
                brick-and-mortar school building”). Some Plaintiffs further confirmed
                that reluctance in sworn declarations submitted to the Court, while
                others indicated a willingness to attend school in-person even in
                districts without mask mandates. (Compare ECF No. 80-1 ¶ 17 (“After
                a mask mandate was put into place, it was still too dangerous for W.H.
                to return to school [in Orange County] . . . .”), with ECF No. 80-6 ¶ 6
                (“Two of my children [with disabilities] are currently in public school
                attending in person education [in Pasco County, with no local mask
                mandate]. My youngest child [with a disability] was removed . . . . We
                instead placed her in Florida Virtual School (FLVS).”).)

               If Plaintiffs believe “regular [COVID] testing” is necessary to a FAPE,
                the Executive Order does not speak to that issue at all. Executive
                Order No. 21-175 (July 30, 2021), https://www.flgov.com/wp-content/
                uploads/orders/2021/EO_21-175.pdf.

               For Plaintiffs who would “consider” district-sponsored alternatives to
                in-person instruction with better options or accommodations for virtual
                learning (see Compl. ¶ 159), enjoining the Executive Order would do
                nothing to improve or modify those existing options.

               Insofar as Plaintiffs take issue with the Department of Health’s
                emergency rule in response to the Executive Order, Emergency Rule
                64DER21-12(1)(d), Fla. Admin. Reg., Vol. 47/153 (Aug. 9, 2021),
                https://www.flrules.org/gateway/ruleNo.asp?id=64DER21-12—which
                requires schools to “allow for a parent or legal guardian of the student to
                opt-out the student from wearing a face covering or mask”—Plaintiffs
                have failed to join the Department of Health as a party or to seek any
                injunctive relief against the enforcement of that particular rule, which
                would remain in effect on its terms regardless of whether the parties
                here are enjoined from enforcing the Executive Order.


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          Finally, Plaintiffs’ “collateral estoppel” arguments (Resp. 16–17) should be rejected out

   of hand. This Court has already noted that the injunction issued by Judge John Cooper in Florida

   state court has been “stayed pending appeal.” (ECF No. 98, at 10 (citing ECF No. 89, at 1).)

   Setting aside the important differences between this litigation and the case before Judge Cooper,

   the judgment there is not “final,” the parties are not identical, and Judge Cooper’s “findings” on

   the issues that Plaintiffs emphasize here were not critical or necessary to his conclusions about

   the Executive Order under state law.4 See generally Goodman v. Aldrich & Ramsey Enters., 804

   So. 2d 544, 546 (Fla. 2d DCA 2002), cited with approval in Wingard v. Emerald Venture Fla.

   LLC, 438 F.3d 1288, 1293 (11th Cir. 2006). Because Judge Cooper’s decision thus does not have

   preclusive effect under Florida law, it cannot bind this Court. See Cmty. State Bank v. Strong, 651

   F.3d 1241, 1263 (11th Cir. 2011) (“In considering whether to give preclusive effect to state-court

   judgments under res judicata or collateral estoppel, the federal court must apply the rendering

   state’s law of preclusion.”).

   C.     Plaintiffs’ State-Law Claim Should Be Dismissed as Well.

          Plaintiffs have not rebutted the State Defendants’ arguments to dismiss their Florida

   Educational Equity Act claim, which is barred by the Eleventh Amendment, fails under Florida

   law, and over which this Court should not retain supplemental jurisdiction. Their citations to

   cases drawing a distinction between injunctive relief and damages remedies for violations of

   federal law (Resp. 19–20) do not change the rule that federal courts cannot enjoin the State

   Defendants from committing alleged violations of state law (see State Defs’ Mot. Dismiss 17–18




   4
     Judge Cooper enjoined enforcement of the Executive Order to the extent that he thought it
   violated the Parents’ Bill of Rights, Ch. 2021-199, Laws of Fla., http://laws.flrules.org/2021/199
   (codified at §§ 1014.01–.06, Fla. Stat.), a Florida statute that Plaintiffs have not invoked or
   challenged in this case.


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   (ECF No. 69))—especially when any claims under federal law have been dismissed for failure to

   exhaust and lack of jurisdiction.

                                       III.   CONCLUSION

          Plaintiffs have failed to state a claim upon which relief can be granted or over which this

   Court has jurisdiction. The entire Complaint therefore should be dismissed under Federal Rule of

   Civil Procedure 12(b)(1) and (6).

          Respectfully submitted this 16th day of September 2021.



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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 16, 2021, I electronically filed the foregoing

   with the Clerk of Court by using the CM/ECF system. I also further certify that the foregoing

   document is being served this day on all counsel of record or all parties identified on the attached

   Service List in the manner specified, either via electronic transmission of Notice of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

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                                                 /s/ Anastasios Kamoutsas
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